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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                          )
IN RE PHARMACEUTICAL INDUSTRY
                                                          )   MDL No. 1456
AVERAGE WHOLESALE PRICE
                                                          )   Master File No. 01-12257-PBS
LITIGATION
                                                          )   Subcategory Case No. 07-12141-PBS
                                                          )
                                                          )
THIS DOCUMENT RELATES TO:
                                                          )   Judge Patti B. Saris
                                                          )
   State of Iowa v. Abbott Laboratories, Inc., et al.
                                                          )


[PROPOSED] ORDER OF DISMISSAL OF PLAINTIFF’S CLAIMS AGAINST BAYER
     CORPORATION AND BAYER PHARMACEUTICALS CORPORATION

       The Motion for Dismissal is hereby GRANTED. All Claims in this action against

Defendants Bayer Corporation and Bayer Pharmaceuticals Corporation are dismissed with

prejudice and without costs to any party.

       IT IS SO ORDERED.

DATED: _________________, 2010

                                                        _____________________________/s/
                                                        The Honorable Patti B. Saris
                                                        Judge
